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         10. That the Defendants make available to the Estate all information relating to any

Maier Works that they hold or have held and submit to an accounting of all assets, income, and

profits related thereto;

         11. That the Defendants disgorge any profits earned by their tortious activities;

         12. That the Estate be awarded punitive damages in an amount to be established at

trial;

         13. That the Estate be awarded pre-judgment interest as allowed by law;

         14. That the Estate be awarded the costs of this action; and
         15. That the Estate be awarded such further legal and equitable relief as the Court

deems proper.

                                         JURY DEMAND

    The Estate demands a jury trial on all the issues so triable.




April 20, 2017                                  BY: THE ESTATE OF VIVIAN MAIER

                                                Its counsel:

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